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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiffs,                             4:18CR3013

      vs.
                                                 MEMORANDUM AND ORDER
MARSHAL MARSHALL,

                   Defendant.


      Defendant has moved for review of his detention. (Filing No. 62).
Defendant explains he has entered into a plea agreement with Custer County,
with the County agreeing to dismiss two felony claims in exchange for
Defendant’s guilty or no contest plea to possession of a deadly weapon (not a
firearm) by a prohibited person, a Class III felony offense. Defendant argues
“[t]his constitutes a material change of circumstances as Mr. Marshall is only
facing up to 3 years in the State prosecution and Mr. Marshall has already served
and/or is close to serving the possible maximum state sentence and/or any
parole eligibility sentence.” (Filing No. 62). He requests release to live at Beacon
House in Grand Island, Nebraska while awaiting trial on the federal charges. Id.


      The change of circumstances described by Defendant does not alter my
prior finding that Defendant’s release poses a substantial risk of harm to the
public. As I previously found, “Defendant’s refusal to comply with protective
orders and the admonitions of law enforcement, and the escalation in his alleged
behavior when challenged by law enforcement and others . . . poses a risk of
harm that is not sufficiently ameliorated by the conditions of release proposed in
his motion.” (Filing No. 21). See also, Filing No. 16.
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       On appeal, Judge Gerrard agreed, finding:


       [T]he Court finds by clear and convincing—indeed, overwhelming—
       evidence that the defendant's release would imperil the safety of
       others. Specifically, the evidence shows a disturbing and escalating
       pattern of behavior, and a course of conduct suggesting that the
       defendant will not be deterred by the potential consequences—even
       serious consequences—of further unlawful behavior. The
       defendant's criminal history also suggests both disregard for the law
       and a specific disregard for restrictions imposed as a result of
       previous unlawful conduct.

(Filing No. 29, at CM/ECF p. 3). “[T]he Court is convinced that no level of custody
short of imprisonment will reasonably assure the safety of others.” (Filing No. 29,
at CM/ECF p. 3).


       Moreover, after the court entered these detention rulings, a superseding
indictment was filed which added drug charges against Defendant. (Filing No.
47). As such, Defendant must now overcome a rebuttable presumption that no
condition or combination of conditions of release will reasonably assure Defendant’s
appearance at court proceedings and the safety of the community. Defendant’s current
release proposal fails to rebut this presumption.


       Accordingly,


       IT IS ORDERED that Defendant’s motion for release, (Filing No. 62), is denied.


       July 21, 2018.
                                                    BY THE COURT:

                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge




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